  Case: 1:17-md-02804-DAP Doc #: 5014 Filed: 04/24/23 1 of 2. PageID #: 611989



                         UNITED STATES DISTRICT COURT FOR THE
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

                                                      MDL No. 2804
    IN RE: NATIONAL PRESCRIPTION
    OPIATE LITIGATION                                 Case No. 1:17-md-02804-DAP

    THIS DOCUMENT RELATES TO                          Judge Dan Aaron Polster
    ALL CASES


           H. D. SMITH HOLDING COMPANY, H. D. SMITH HOLDINGS, LLC,
            H. D. SMITH WHOLESALE DRUG CO., AND H. D. SMITH LLC’S
          AMENDED NOTICE REGARDING WAIVER OF SERVICE REQUESTS

       In accordance with the Court’s April 11, 2018 Case Management Order One, Paragraph 6.d,

H. D. Smith Holding Company, H. D. Smith Holdings, LLC, H. D. Smith Wholesale Drug Co., and

H. D. Smith LLC (collectively, “H. D. Smith Defendants”) hereby submit this amended notice to

designate a new proper recipient of waiver requests. The amended forms for waiver of service for H.

D. Smith Defendants are attached to this notice as Exhibit A. The standard form has been modified in

accordance with this Court’s orders. All future requests for waivers of service to H. D. Smith

Defendants shall be made, complete with all required case information and a PDF copy of the

complaint and any exhibits thereto, via e-mail to H. D. Smith Defendants’ counsel of record Brian T.

Himmel at bhimmel@reedsmith.com.

Dated: April 24, 2023.                                       Respectfully submitted,

                                                             /s/ Brian T. Himmel
                                                             Brian T. Himmel
                                                             REED SMITH LLP
                                                             Suite 1200
                                                             225 Fifth Avenue
                                                             Pittsburgh, PA 15222
                                                             Tel:    (412) 288-3131
                                                             Fax: (412) 288-3063
                                                             bhimmel@reedsmith.com

                                                             Counsel for H. D. Smith Holding
                                                             Company, H. D. Smith Holdings, LLC,
                                                             H. D. Smith Wholesale Drug Co., and
                                                             H. D. Smith LLC
  Case: 1:17-md-02804-DAP Doc #: 5014 Filed: 04/24/23 2 of 2. PageID #: 611990



                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on the 24th day of April, 2023, the foregoing was filed

using the Court’s CM/ECF filing system and will be served via the Court’s CM/ECF filing system on

all attorneys of record.

                                                              /s/ Brian T. Himmel
                                                              Brian T. Himmel

                                                              Counsel for H. D. Smith Holding
                                                              Company, H. D. Smith Holdings, LLC,
                                                              H. D. Smith Wholesale Drug Co., and
                                                              H. D. Smith LLC
